ESTATE OF JOHNSON N. CAMDEN, DECEASED, AGNES M. CAMDEN AND FIRST NATIONAL BANK AND TRUST COMPANY OF LEXINGTON, EXECUTORS, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  AGNES MCEVOY CAMCEN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Camden v. CommissionerDockets Nos. 106784, 106786.United States Board of Tax Appeals47 B.T.A. 926; 1942 BTA LEXIS 628; October 20, 1942, Promulgated *628  1.  The owner of real estate, for consideration not questioned, conveyed real estate to her husband for his life, with remainder to herself.  Held, that there was a sale of a capital asset and that there was error by the Commissioner in treating the proceeds of the sale as ordinary income from rental on a lease.  2.  Held, that the grantee has not shown himself entitled to depreciation as using the property in trade or business.  Victor A. Bradley, Esq., and Charles I. Dawson, Esq., for the petitioners.  W. W. Kerr, Esq., for the respondent.  DISNEY*927  These proceedings were consolidated for hearing and report, and involve the redetermination of deficiencies in income taxes in Docket No. 106784 in the respective amounts of $377.36 and $450.65 for 1936 and 1937, and $20,889.53 for 1936 in Docket No. 106786.  The issue in Docket No. 106784 is whether the respondent erred in disallowing as deductions depreciation in the amount of $1,640.72 in 1936 and $1,875 in 1937 on farm improvements in which the petitioner had a life interest.  The issue in Docket No. 106786 is whether respondent erred in including in income in 1936 the sum of*629  $58,904 received as consideration for conveyance of a life interest in realty.  The income tax returns of the petitioners were filed with the collector for the district of Kentucky.  A stipulation of facts filed by the parties is incorporated herein by reference as part of our findings of fact.  Material portions thereof will be set forth in the findings of fact made from other evidence.  Petitioner Johnson N. Camden has died since the hearing, and the executors of his estate have been substituted as parties, but for convenience he will be referred to as petitioner. FINDINGS OF FACT.  Prior to, during, and subsequent to 1936 the petitioners, Johnson N. Camden and Agnes McEvoy Camden, husband and wife, resided on a farm in Bourbon County, Kentucky, owned by petitioner Agnes McEvoy Camden until February 27, 1936.  On that date petitioners executed to their attorney, V. A. Bradley, in trust, a conveyance of the land upon which they were living, including improvements, with directions to the trustee to reconvey the property immediately to petitioner Johnson N. Camden for life, with remainder in fee simple, after the life estate, to Agnes McEvoy Camden.  Thereafter, on the same day, *630  the trustee in execution of his trust, executed and delivered a deed to the property in accordance with the terms of the trust.  The instruments were duly recorded with the proper office of record.  The conveyance from Agnes McEvoy Camden and Johnson N. Camden, her husband, to the trustee refers to the instrument as a deed and that it is in trust to reconvey immediately the property to Johnson N. Camden for life with remainder, after the life estate, to Agnes *928  McEvoy Camden.  The conveyance from the trustee recites that it is in pursuance of a trust imposed by a deed of even date, that it "does hereby grant, bargain, sell and convey unto the parties of the second part, J. N. Camden, the hereinafter described property for life and to the second party, Agnes M. Camden, the remainder in said property after the life estate of J. N. Camden, her heirs and assigns forever in fee simple." The habendum clause recites the same, that is, "for life with remainder after said life estate to Agnes M. Camden, her heirs and assigns forever." Upon the execution of the instruments petitioner Johnson N. Camden delivered to his wife securities of the then market value of $58,904.  The securities*631  were transferred to her and she has since collected the income therefrom and reported such income for tax purposes.  After the date of the deeds petitioner Johnson N. Camden had possession and control of the land and improvements thereon and collected the receipts therefrom, and petitioner Agnes McEvoy Camden continued to reside on the premises as his lawful wife.  The property has been used as a residence and Johnson N. Camden used it as a horse farm and raised horses.  It is equipped for the handling of race horses.  The reason for the conveyance of the life estate was to make Johnson N. Camden independent so that he could do whatever he wanted on the property without conferring with his wife, also to protect him if anything by accident should happen to her "that he would have a place to live in." There was no other motive for the conveyance.  The depreciated cost to Agnes McEvoy Camden of the entire property as to which life estate was conveyed was at the date of conveyance $181,759.82; and the depreciated cost of the life right conveyed was $59,889.86.  Petitioner Agnes McEvoy Camden in her Federal income tax return reported a loss upon the transaction in the amount of*632  $985.86 by deducting the $58,904 received from $59,889.86 as the depreciated cost to her of the life estate.  She computed this depreciated cost as 32.95 percent of $181,759.82, the depreciated cost of the entire property, the 32.95 percent being determined according to the life expectancy of Johnson N. Camden, who was at the time of the conveyance of the age of 71 years.  The calculation was in accordance with life tables recognized by the court of Kentucky and compiled in the publication of the Kentucky statutes.  In determining the deficiency, the Commissioner did not disallow the loss claimed, but added the $58,904 to income as reported, treating the same as taxable income in its entirety.  He computed depreciation on improvements of a cost of $99,084.44, although petitioner Agnes McEvoy Camden had not claimed a deduction of depreciation.  Petitioner in arriving at the *929  $181,759.82 depreciated cost also calculated $99,084.44 for improvements and computed depreciation at 2 1/2 percent per annum, the same rate used by the Commissioner.  The husband claimed deductions for depreciation upon the improvements after the conveyances, that is, for 1936 and 1937, and the Commissioner*633  disallowed the claims.  OPINION.  DISNEY: The record in this proceeding discloses a conveyance of a life estate in real estate from petitioner Agnes McEvoy Camden to petitioner Johnson N. Camden, her husband, with remainder to the wife.  The respondent urges us to consider it as in effect transferring only a lease and therefore to regard the consideration paid by the husband as prepaid rental upon the lease, taxable as ordinary income to the wife.  The petitioners, on the other hand, contend that a life estate was both in form and fact conveyed, that the amount received by the wife for such conveyance was for a capital asset, and that the husband, becoming the owner of such life estate, is entitled to depreciation upon the improvements upon the property.  No question is raised as to the consideration paid.  There is nothing irregular about the conveyance, though the property had belonged to the wife, and was conveyed by deed by the wife and husband to a trustee and immediately upon the same day conveyed back to the husband for life, with remainder to the wife.  This procedure appears to be required by the law of Kentucky in case of conveyance from husband to wife, and respondent*634  seems to base no contention upon such form of conveyance.  The conveyance to the husband with remainder to the wife is not designated as a deed, but it specifically conveys the property for life to the husband and "to the second party, Agnes M. Camden, the remainder in said property after the life estate of J. N. Camden"; and the parties by stipulation refer to both conveyances as deeds.  The habendum clause recites, "TO HAVE AND TO HOLD unto the party of the second part, J. N. Camden for life with remainder after said life estate to Agnes M. Camden, her heirs and assigns forever." The granting clause grants and conveys "the hereinafter described property" and recites its descriptions by metes and bounds.  In short, in form there is a plain conveyance of life estate with remainder over.  This, the respondent contends, however, amounts to and should be viewed as a leasehold.  As reasons for so regarding the conveyance, it is urged that the wife testified that the reason for the execution of the instrument to the trustee and by him to the husband for life, with remainder over to the wife, "was to make Senator Camden independent so that he could do whatever *930  he wanted on the*635  place without conferring with me.  It was also to protect him if anything by accident should happen to me, that he would have a place to live in." There was no other motive.  The wife testified, when asked whether there was any other motive than those stated above, "None in the world." In other words, the tax evasion motive is absent from this case.  Since the conveyance was in form a plain grant of a life estate and no tax evasion motive may be considered, it appears that any reason for regarding the conveyance as other than that of a life estate, that is, for regarding it as a lease, must be based upon the testimony above quoted, in effect, that the idea was to make the husband independent so that he could do whatever he wanted on the place and to protect him with a place to live if anything happened to the wife.  In our opinion, however, those words are, to say the least, no more indicative of intent to create a lease than to create a life tenancy.  Either lease or life tenancy would give the husband a place to live.  Indeed, the expression with reference to the husband being able to do whatever he wanted on the place without conferring with his wife seems to point to a life tenancy*636  rather than a lease, since under a lease the power of the husband would seem to be more circumscribed than in case of a life tenancy.  It was elsewhere explained, in effect, that the wife did not like to see the husband put so many improvements on property which did not belong to him.  All of this seems to us to indicate a lack of reason for regarding the instrument as other than what it is in form - a conveyance of a life estate.  The respondent cites a number of cases to support his view that for tax purposes we should regard the conveyance as a lease; but we find none of them parallel with the present situation.  In none do we find an unequivocal conveyance of a life estate held to convey only a leasehold so that the consideration paid therefor is ordinary income.  That a life estate is a capital asset can, we think, hardly be doubted, in the light of the language of section 117(b) of the Revenue Act of 1936. 1 A life estate is property.  Codman v. Miles, 28 Fed.(2d) 823. We do not understand the respondent to deny that principle.  The property was "held by the taxpayer," was not stock in trade or property properly included in inventory or held primarily*637  for sale to customers in the ordinary course of trade or business.  Petitioner Agnes McEvoy Camden received a consideration for the transfer of such property. *931  The trustee-grantor recites that he "does hereby grant, bargain, sell and convey * * * the hereinafter described property for life * * *." Though of course the effect, whether the conveyance be regarded as sale of life estate or as lease, is in either case to convey something to the husband for life, nevertheless, with no reference in the instruments to a lease and the usual covenants of a deed appearing, we are unable to find sufficient reason for holding, as the respondent contends, that it is as if a lease had been executed.  There are essential distinctions between a life estate and a lease, which, however, we think unnecessary of discussion here.  The parties intended and used language sufficient to convey a life estate and we do not think that ground exists here for disregarding the intent and terminology which appears. Hort v. Commissioner,313 U.S. 28, cited by the respondent, involved merely payment of a lump sum in consideration of the cancellation of a lease, the nature of which was*638  not in controversy. Estate of F. S. Bell,46 B.T.A. 484, involved trusts set up by the petitioners, under which there was a life estate consisting only of the right to receive income from trusts set up by those retaining the right to income for life, which right was later transferred to the remainderman.  Both Irwin v. Gavit,268 U.S. 161, and Maass v. Higgins,312 U.S. 443, cited in the Bell case, are pointedly limited to situations where the life estate consists "only of the right to receive the income," and our opinion in the Bell case is so limited.  Moreover, therein, speaking of the grantors of the life interest, we say, "It is not as though they had bought the life interest, and thus had a cost basis of that right by virtue of the purchase," and point out that they had no such right in the principal of the trust as to entitle them to a return of capital through exhaustion of the interest represented by their life estates.  Here petitioner Agnes McEvoy Camden had purchased the property, had set up no trust, and had a cost basis.  We can not discern herein a parallel with the Bell case.  In *639 Elmer J. Keitel,15 B.T.A. 903, we held that the sale of a partnership interest, limited to the life or widowhood of the grantee, constituted a capital transaction, and held that monthly payments of the consideration paid therefor entitled purchaser to an annual deduction for exhaustion - though we also held that the state of the proof would not permit us to determine the amount of allowable deduction.  Though we likened the life estate to a lease "in this respect," that is, for purposes of section 214(a)(8) of the Revenue Act of 1921 as to a reasonable allowance for exhaustion, etc., we do not think such comparison constitutes sufficient ground for holding in the present case that the ordinary rule as to taxation in case of a sale of a capital asset should not be applied.  This is consistent with the view taken in G.C.M. 14693, C.B.XIV-1, p. 197, where it is held that upon condemnation *932  of real estate in the possession of the life tenant, both the life tenant and the remaindermen derived profit "from the sale of their individual legal interests in the real estate and [it] is taxable to them in their individual capacities." In a case of a sale*640  to a stranger, of a life estate in realty, by one who had received it from the holder of the fee simple estate by gift, and was therefore required to look to his grantor's base, we think it would not be held that the seller had no base because his grantor had held the entire estate, and that therefore the whole amount received should be considered ordinary income.  In the absence of tax evasion or other intent to convey something other than a life estate, we think no different answer should be given here.  The respondent points out that section 113(b) of the Revenue Act of 1936 makes no provision for adjusting the basis of property by reason of the creation of a life estate; but we do not think that this justifies his view of the treatment to be accorded the transaction here at hand.  In effect, the argument amounts to this: If the amount received by petitioner Agnes McEvoy Camden is not taxed herein, it may be held in case of the sale of the whole property by her after expiration of the life estate, that no adjustment of basis is required because of the sale of the life estate, and therefore the amount now received will altogether escape taxation.  We think such a possibility is no*641  sufficient reason for ignoring the indisputable fact of sale, and the fact of capital asset.  If it is, the remedy lies with the legislative body and not with us.  However, the manner of calculating a basis for the life estate, upon original cost depreciated, and allocated to the life estate in accordance with life expectancy tables, is in our opinion proper.  We conclude that there was here a sale of a capital asset, and taxable to the grantor as such, and not as ordinary income.  It is suggested upon brief also, that petitioner Agnes McEvoy Camden has not properly proved a cost basis for the life estate sold.  In the condition in which we find the record, *642  we think there is no real controversy before us in that respect.  The petitioner, reporting upon a basis of sale of capital asset, computed a loss of $985.86, by deducting from $58,904, the consideration received for the life estate, the sum of $59,889.86 as the depreciated cost of the life estate, or 32.95 percent of $181,759.82, the depreciated cost of the property.  At the hearing it was agreed that there was no argument as to the original cost basis.  The Commissioner in determining the deficiency did not disallow the loss claimed, but merely added to income as reported by the petitioner the $58,904 received for the life estate, as representing taxable incoem, and computed depreciation on improvements of a cost of $99,084.44 (though petitioner Agnes McEvoy Camden had claimed no depreciation deduction.) The petitioner computed the same amount for improvemements, and, like the Commissioner, computed depreciation at *933  2 1/2 percent.  The parties stipulated that as to petitioner Agnes McEvoy Camden, "the only issue in controversy in this proceeding relates to the propriety of the action of the Commissioner of Internal Revenue in taxing to her as normal income the entire proceeds*643  ($58,904.00) received from her husband, Johnson N. Camden, as consideration for the aforesaid life estate." The loss claimed by the petitioner was based upon a value of the life right as 32.95 percent of depreciated cost, the 32.95 percent being based upon the age of the life tenant, according to Wigglesworth's Table of Values, which appears as recognized in the Statutes of Kentucky, Carroll's Kentucky Statutes, 1936, page 2679, and by the Kentucky court.  Under all of the above, we conclude that the respondent has adopted and used the same original basis used and proven by the petitioner for real estate and improvements, and that the only real difference between the parties is the propriety of establishing or carving out a basis for the life estate by applying the life expectancy of the grantee to the statutory life tables.  We hold that the basis for the life estate was properly computed.  We therefore conclude and hold that the Commissioner was in err0r in adding to the income of petitioner Agnes McEvoy Camden the proceeds of the sale of the life estate.  This leaves for consideration the question as to whether Johnson N. Camden, as owner of the life estate, is entitled to deductions*644  for depreciation.  In our opinion, error on the part of the respondent in denying such deductions has not been shown.  Assuming, without finding it necessary to decide that the proper and necessary basis for deduction was used by him, we find absence of a fact indispensable to such allowance, that is, that the property was "used in the trade or business" of Johnson N. Camden.  The only evidence with reference to the nature of the use of the property is that "We have a residence, and Senator Camden uses it as a horse farm, he raises horses" and that it is equipped for the handling of race horses.  Obviously, if this were a case, like many which we have entertained, with reference to whether property was used as a business purpose or a hobby, the language just above quoted would not be sufficient to prove use in trade or business, for it is apparent that the raising of horses or the handling of race horses may be a business or it may be a mere hobby.  Though the evidence is that the property was equipped for the handling of race horses, it is not shown that it was so used, or that there was any use in trade or business.  We find such evidence insufficient.  The petitioner urges, however, *645  that the respondent allowed depreciation to the wife though she had not asked for it, and that therefore the respondent can not logically deny it to the husband.  We do not think that such conclusion follows from the fact.  In connection with allowing depreciation to the wife the Commissioner was taking the view that she should *934  pay income tax upon $58,904 ordinary income.  If the husband is in a position to claim depreciation, the situation changes, since in that event he has acquired a capital asset and the wife is not subject to payment of the income tax upon the amount assumed by the respondent when he allowed depreciation to her.  We think that the respondent may not illogically take a different view in such changed circumstances, that he has not waived the question of proof, and that in the absence of waiver petitioner has failed to make the necessary proof.  That section 23(1) of the Revenue Act of 1936 provides that deduction may be computed by a life tenant as if he were the absolute owner, does not relieve him of the necessity of showing use in trade or business.  We conclude and hold that there was no error in denying claim of depreciation by petitioner Johnson*646  N. Camden.  The above conclusions render the other issues unnecessary of consideration.  Reviewed by the Board.  Decision will be entered under Rule 50.MURDOCK, STERNHAGEN, ARUNDELL, MELLOTT, and OPPER dissent.  Footnotes1. SEC. 117.  CAPITAL GAINS AND LOSSES.  * * * (b) DEFINITION OF CAPITAL ASSETS. - For the purposes of this title, "capital assets" means property held by the taxpayer (whether or not connected with his trade or business), but does not include stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year, or property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business. ↩